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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

BARRY GOLIN and LAURA GONONIAN,)
on behalf of themselves and others )
                                   )
similarly situated,                )
                                   )
                      Plaintiffs,  )
                                   )                 Civil Action No.:
                      v.           )
                                   )
                                   )                 CLASS ACTION COMPLAINT
MARRIOTT INTERNATIONAL, INC.       )
and STARWOOD HOTELS &              )                 JURY TRIAL DEMANDED
RESORTS WORLDWIDE, LLC,            )
                                   )
                                   )                 December 19, 2018
                      Defendants.  )


                                 CLASS ACTION COMPLAINT

       Plaintiffs Barry Golin and Laura Gononian by and through undersigned counsel, on

behalf of themselves and all others similarly situated, allege the following claims and causes of

action against Defendants Marriott International, Inc. (“Marriott”) and Starwood Hotels &

Resorts Worldwide, LLC (“Starwood”) (collectively, “Defendants”), based upon personal

knowledge and on information and belief derived from, among other things, investigation of

counsel and review of public documents as to all other matters.

                                  SUMMARY OF THE ACTION

       1.        Plaintiffs bring this class action against Marriott and Starwood for their failure to

secure and safeguard its guests’ names, phone numbers, email addresses, passport numbers, dates

of birth, credit card numbers and credit card expiration dates (“Personal Identifying

Information”).

       2.        Starwood collected Plaintiffs’ and Class Members’ Personal Identifying

Information at the time guests registered on its website, checked-in to one of its hotels, enrolled
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in its loyalty program (“SPG Loyalty Program”), and used a dining or retail service within its

property.

       3.       Beginning in 2014 (or perhaps even earlier) and continuing through November

2018, cyber criminals exploited vulnerabilities in Marriott and Starwood’s network and stole

guests’ Personal Identifying Information (“Data Breach”).

       4.       On November 30, 2018, Marriott disclosed that the massive Data Breach

potentially exposed the personal data of 500 million guests. It is the second biggest corporate

data breach in history. Despite the staggering magnitude of this breach, Marriott claimed it did

not discover it until November 19, 2018. Cyber criminals have had four full years of

unencumbered access to personal and confidential information of hundreds of millions of guests

before Marriott even notified its customers.

       5.       Marriott has publicly acknowledged that the Data Breach resulted, at least in part,

from vulnerabilities in a database containing sensitive information it gleaned from guests at its

Starwood-branded hotels, noting in an 8-K filed on November 30, 2018 that it was “devoting the

resources necessary to phase out Starwood systems and accelerate the ongoing security

enhancements to [its] network.” The opportunities that any such faults created for cyber

criminals were greatly enhanced by Marriott’s systemic incompetence and uninterested approach

to data security. Indeed, Marriott failed to employ sufficient security measures to avoid the Data

Breach despite the fact that Starwood—which Marriott acquired in 2016 and whose database it

admitted to have been compromised in the Data Breach—had reported a data breach relating to

54 of its hotels in November of 2015. Despite this data breach, as well as numerous other high-

profile data breaches at other major American corporations (including Equifax and Target)




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during the four years between the initial breach and its discovery, Marriott took no steps to

assure that its systems were secure.

       6.       On information and belief, Plaintiffs’ and Class Members’ Personal Identifying

Information was improperly handled and stored, was unencrypted, and was not kept in

accordance with applicable, required, and appropriate cyber-security protocols, policies, and

procedures. As a result, Plaintiffs’ and Class Members’ Personal Identifying Information was

compromised and stolen.

       7.       Plaintiffs and Class Members have had their privacy rights violated and been

exposed to increased risk of fraud and identify theft. Plaintiffs and Class Members are further

damaged as their Personal Identifying Information remains in Marriott’s possession, without

adequate protection, and is also in the hands of those who obtained it for its commercial value,

without Plaintiffs or Class Members’ consent.

                                JURISDICTION AND VENUE

       8.       This Court has jurisdiction over this action pursuant to the Class Action Fairness

Act (“CAFA”), 28 U.S.C. § 1332(d), because the aggregate amount in controversy exceeds

$5,000,000, exclusive of interests and costs, there are more than 100 class members, and at least

one class member is a citizen of a state different from Defendants and is a citizen of a foreign

state. Subject matter jurisdiction also arises under 28 U.S.C. § 1331 based on the claim asserted

under the Federal Stored Communications Act, 18 U.S.C. § 2702. The Court also has

supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

       9.       This Court has personal jurisdiction over Defendant Starwood as it maintains its

principal headquarters in Connecticut, is registered to conduct business in Connecticut, regularly

conducts business in Connecticut, and has sufficient minimum contacts in Connecticut.



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Defendants intentionally avail themselves of this jurisdiction by conducting Starwood’s

corporate operations here and promoting, selling, and marketing Starwood’s services to resident

Connecticut consumers and entities.

        10.     Venue is proper under 28 U.S.C. § 1391(a) because Starwood’s principal place of

business is in Connecticut and a substantial part of the events, acts, and omissions giving rise to

the claims of the Plaintiffs occurred in this District.

                                              PARTIES

Plaintiffs

        11.     Plaintiff Barry Golin is a resident of Chicago, Illinois. Mr. Golin has repeatedly

stayed at Starwood properties in the United States and abroad. He opened a Starwood Preferred

Guest account on or about 2004. Mr. Golin provided his personal and confidential information to

Starwood, including but not limited to his passport number, on the basis that they would keep his

information secure, and employ reasonable and adequate security measures to ensure that

hackers would not compromise his information, and notify him promptly in the event of a

breach. During the time Starwood had possession of Mr. Golin’s credit card number and

expiration date there was instances of fraudulent activity on the card by unknown individuals. As

a result of the Data Breach, Mr. Golin is taking measures that he otherwise would not have to

ensure that his identify is not stolen and that his accounts are not compromised.

        12.     Plaintiff Laura Gononian is a resident of Royal Oak, Michigan. Ms. Gononian has

repeatedly stayed at Starwood properties in the United States and abroad. She has provided her

personal and confidential information to Starwood, including but not limited to her passport

number, on the basis that they would keep her information secure, and employ reasonable and

adequate security measures to ensure that hackers would not compromise her information, and



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notify her promptly in the event of a breach. During the time Starwood had possession of Ms.

Gononian’s credit card number and expiration date there was instances of fraudulent activity on

the card by unknown individuals. As a result of the Data Breach, Ms. Gononian is taking

measures that she otherwise would not have to ensure that her identify is not stolen and that her

accounts are not compromised.

Defendants

       13.    Marriott is a Delaware corporation with its principal place of business and

headquarters in Bethesda, Maryland, located at 10400 Fernwood Road. Marriott is a worldwide

operator, franchisor, and licensor of hotel, residential, and timeshare properties under numerous

brand names at different price and service points. On September 23, 2016, Marriott completed

the acquisition of Starwood through a series of transactions, after which Starwood became an

indirect wholly-owned subsidiary of Marriott. Through Starwood, Marriott operates hotels and/or

resorts as well as other timeshare properties under the following brands: Westin, Sheraton,

Luxury Collection, Four Points by Sheraton, W Hotels, St. Regis, Le Méridien, Aloft, Element,

Tribute Portfolio and Design Hotels.

       14.    Starwood is an American hotel and leisure company with a principal place of

business and headquarters in Stamford, Connecticut and is an indirect wholly-owned subsidiary

of Marriott. Marriott purchased Starwood for $13.6 billion in a merger that was finalized on

September 23, 2016. Starwood hotels, resorts and timeshare properties operated by Marriott

include the following brands: Westin, Sheraton, Luxury Collection, Four Points by Sheraton, W

Hotels, St. Regis, Le Méridien, Aloft, Element, Tribute Portfolio and Design Hotels. According

to Marriott’s Form 8-K filed on November 30, 2018, the Data Breach affected Starwood’s legacy

customer-reservation database.



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                                 FACTUAL ALLEGATIONS

       15.     Prior to its merger with Marriott, Starwood was one of the largest hotel and

leisure companies in the world. It owned, operated, franchised and managed hotels, resorts, spas,

residences and vacation ownership properties under its 11 owned brands: Westin Hotels;

Sheraton Hotels and Resorts, The Luxury Collection, Four Points by Sheraton, W Hotels, St.

Regis, Le Méridien, Aloft Hotels, Element by Westin, Tribute Portfolio, and Design Hotels.1

       16.     When booking reservations at a Marriott property, including its Starwood brand

properties, customers provide Marriott with sensitive Personal Identifying Information, including

their names, phone numbers, email addresses, passport numbers, dates of birth, credit card

numbers and credit card expiration dates.

       17.     Furthermore, Starwood collected Personal Identifying Information through its

heavily marketed SPG Loyalty Program which it promoted as an award-winning proprietary

frequent traveler, customer loyalty, and multi-brand marketing program that encourages its

members to concentrate their stays within Starwood’s numerous brands and to try new hotels in

the Starwood family, allowing members to earn and redeem points for room stays, room

upgrades and airline flights, with no blackout dates. In 2015, SPG Loyalty Program members

purchased approximately 50% of its room nights. 2

       18.     In November 2015, Marriott announced it would purchase Starwood for $13.6

billion dollars creating the world’s largest hotel company.3




       1
          Starwood. 2015 Form 10-K Annual Report, at 2.
       2
          Id. at 1.
        3
          http://news.marriott.com/2015/11/marriott-international-to-acquire-starwood-hotels-
resorts-worldwide-creating-the-worlds-largest-hotel-company/ (last accessed November 30,
2018)


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       19.     At December 31, 2015, Starwood’s hotel business included 1,282 owned,

managed or franchised hotels with approximately 362,300 rooms, comprising 32 hotels that it

owned or leased or in which it had a majority equity interest, 608 hotels managed by it on behalf

of third-party owners (including entities in which we have a minority equity interest) and 642

hotels for which it receives franchise fees. Additionally, Starwood’s vacation ownership and

residential business included 15 stand-alone vacation ownership resorts and residential

properties.4

       20.     With the merger complete, Marriott ended 2017 with more than 6,500 properties

in 30 hotel brands spanning 127 countries and territories.5

Marriott Knew The Importance Of Data Security Prior To The Data Breach

       21.     Over the past decade, a series of high-profile data breaches at major American

institutions has highlighted the extreme risks to consumers who share their personal data to

conduct business with such corporations and the corresponding need for those corporations to

safeguard personal data.

       22.     Data breaches of the type at issue in this action present both immediate and

ongoing

risks to consumers. Cyber criminals may use or sell to others for use the type of information

compromised by the Data Breach—including, but not limited to, names, phone numbers, email

addresses, passport numbers, dates of birth, dates of check-in and departure, and credit card

numbers and expiration dates—to, among other things, (i) gain access to individuals’ electronic

accounts, including social media and bank and credit card accounts, (ii) impersonate consumers

       4
         Starwood. 2015 Form 10-K Annual Report, at 2.
       5
         Marriott International, Inc. 2017 Annual Report, https://marriott.gcs-web.com/static-
files/b82978a6-9d28-4e38-9855-fc4ae2cebe11 (last accessed November 30, 2018)


                                                    7
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in a manner detrimental to their finances or personal reputations, including by creating new

accounts without authorization, and (iii) harass, blackmail or otherwise target individuals for

fraud or other crimes. Once a breach occurs, consumers whose personal information is used to

their detriment are required to undertake costly and time-consuming remedial measures

including, among other things, disputing and potentially prosecuting claims regarding contested

charges and taking steps to repair damage to credit ratings and other reputational harm. Such

consumers also face risks of civil litigation initiated by creditors based on false charges to their

accounts.

       23.      Even if personal information is not used to consumers’ detriment upon initially

being compromised, consumers remain subject to ongoing risks, requiring them to take various

remedial steps lest identity thieves use their Personal Identifying Information for nefarious

purposes months, years or decades later. These remedial steps, which include, among other

things, potentially cancelling accounts, monitoring activity on such accounts, changing passport

numbers, and otherwise remaining vigilant for years or even decades to ascertain whether their

information is being used to their detriment, are costly, time-consuming, mentally and

emotionally harmful, and nerve-wracking to consumers.

       24.      Marriott maintains electronic databases in which it stores Personal Identifying

Information divulged by all guests who stay at Marriott properties, including the Starwood

database, which contain information regarding guests who stayed at properties that Marriott has

admitted were compromised in the Data Breach. Guests disclose this information to Marriott,

among other reasons, for the purposes of making reservations at Marriott-controlled hotels.

Guests who disclose this information reasonably expect that Marriott will hold it in confidence

and protect it from being compromised.



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       25.     At the time of the Data Breach, Marriott, having observed numerous well

publicized data breaches involving major corporations over the last decade plus, was well aware

of the likelihood and repercussions of cybersecurity threats.

       26.     Indeed, Starwood, which Marriott acquired in 2016 and whose system Marriott

has identified as having been breached, announced in November of 2015 that databases at 54 of

its hotels had been hacked, placing the post-acquisition Marriott on notice of significant security

risks at Starwood.6 The breach was announced in the very same week that Marriott announced its

plan to acquire Starwood. Despite this red flag, Marriott failed to address the problem.

Marriott Takes Four Years To Discover The Data Breach And Delays Informing Impacted
Guests

       27.     According to Marriott’s press release, it received an alert from an internal system

on September 8, 2018 that there was an attempt to access the Starwood guest reservation

database.7

       28.     The investigation by Marriott began and it learned that since 2014 – four years

earlier – unauthorized users had gained access to the Starwood network and been undetected in

its system.8 In fact, these unauthorized users had such access before, during and after the

November 2015 data theft incident.

       29.     Marriott’s investigation further revealed that unauthorized users had copied and

encrypted information, as well as attempted to remove it.9


       6
          https://www.starwoodhotels.com/Media/PDF/Corporate/Press_Release.pdf (last
accessed November 30, 2018)
        7
          Marriott Announces Starwood Guest Reservation Database Security Incident,
http://news.marriott.com/2018/11/marriott-announces-starwood-guest-reservation-database-
security-incident/ (last accessed November 30, 2018)
        8
          Id.
        9
          Id.


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       30.     On November 19, 2018, Marriott decrypted the information and confirmed that

the contents were from its Starwood guest reservation database.10

       31.     Marriott has confirmed that approximately 500 million guests who made a

reservation at a Starwood property since 2014 may have been impacted. The database contains

some combination of name, mailing address, phone number, email address, passport number,

SPG Loyalty Program account information, date of birth, gender, arrival and departure

information, reservation date, and communication preferences. For other guests, the information

also includes payment card numbers and payment card expiration dates. Furthermore, other

guests’ accounts included a name and potentially a mailing address, email address, or other

personal information.11

       32.     According to Gus Hosein, executive director of Privacy International, “[Marriott]

can say all they want that they take security seriously, but they don’t if you can be hacked over a

four-year period without noticing.”12

Personal Identifying Information Is Valuable To Thieves

       33.     Personal Identifying Information is frequently targeted and highly coveted by

cyber criminals.

       34.     Richard Gold, head of security engineering at the cybersecurity firm Digital

Shadows, said “hotels are an attractive target for hackers because they hold a lot of sensitive




       10
           Id.
       11
           Id.
        12
           Amie Tsang & Adam Stariano, “Marriott Breach Exposes Data of Up to 500 Million
Guests,” The New York Times, available at
https://www.nytimes.com/2018/11/30/business/marriott-data-breach.html (last accessed
November 30, 2018).


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information, including credit card and passport details, but often don’t have security standards as

tough as those of more regulated industries, like banking.”13

       35.     Mr. Gold thought the Marriott breach was “among the largest of consumer data,

on par with breaches at Yahoo and the credit-storing giant, Equifax.”14

       36.     Despite publicly available knowledge from frequent public announcements of

data breaches, Marriott recklessly maintained an insufficient and inadequate system to protect

the Personal Identifying Information of Plaintiffs and Class Members from cyber criminals.

Marriott Failed To Segregate Payment Card Data From Personal Identifying Information

       37.     The Payment Card Industry Data Security Standard (“PCI DSS”) is a set of

requirements designed to ensure that companies maintain consumer credit and debit card

information in a secure environment.

       38.     According to the PCI Security Standards Council, “PCI DSS provides a baseline

of technical and operational requirements designed to protect cardholder data.”15

       39.     One PCI DSS requirement is to protect stored cardholder data. Cardholder data

includes Primary Account Number, Cardholder Name, Expiration Date, and Service Code.

“Network segmentation of, or isolating (segmenting), the cardholder data environment from the

remainder of an entity’s network is not a PCI DSS requirement.”16 However, segregation is




       13
        Id.
       14
        Id.
     15
        PCI SECURITY STANDARDS COUNCIL, PAYMENT CARD INDUSTRY DATA
SECURITY STANDARD VERSION 2.0 at 5 (October 2010) (hereafter PCI Version 2).
     16
        Id.


                                                    11
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recommended because, among other reasons, “[i]t’s not just cardholder data that’s important;

criminals are also after personally identifiable information (PII) and corporate data.”17

       40.     Marriott has failed to provide a clear understanding of how the Data Breach

occurred and its full effects on consumers payment card data. Without such detailed disclosure,

Plaintiffs and Class Members are unable to take the necessary precautions to prevent continued

misuse of their personal information.

       41.     The Data Breach was caused and enabled by Marriott’s knowing violation of its

obligations to abide by industry standards in protecting its customers’ payment card data.

This Data Breach Will Result In Additional Identify Theft And Identify Fraud

       42.     The harm from Marriott’s failure to keep Plaintiffs’ and Class Members’ data

secure will be severe.

       43.     The Federal Trade Commission (“FTC”) estimates that as many as 10 million

Americans have their identities stolen each year. As the FTC recognizes, once identity thieves

have personal information, “they can drain your bank account, run up your credit cards, open

new utility accounts, or get medical treatment on your health insurance.”18

       44.     Plaintiffs and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent credit and debit card charges




       17
            Verizon 2014 PCI Compliance Report, available at
http://www.nocash.info.ro/wpcontent/ uploads/2014/02/ Verizon_pci-report-2014.pdf
(hereafter “2014 Verizon Report”), at 54
         18
            Warning Signs of Identity Theft, available at
 https://www.consumer.ftc.gov/articles/0271-warning-signs-identity-theft (last accessed
November 30, 2018).


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incurred by them and the resulting loss of use of their credit and access to funds, whether such

charges are ultimately reimbursed by the credit card companies.

Marriott’s Response To The Data Breach Is Insufficient

       45.     The untimely and inadequate notification of the Data Breach further has damaged

Plaintiffs and Class Members. Marriott should have timely disclosed to Plaintiffs and Class

Members that their Personal Identifying Information was compromised. A timely disclosure

would have allowed Plaintiffs and Class Members to take appropriate measures to monitor and

protect their accounts.

       46.      In addition, Marriott’s offer of one year of free enrollment in Web Watcher is

inadequate. Data thieves will be aware of the one-year expiration period offered to guests and

can simply wait out the time as is the typical modus operandi of such cyber criminals.

Plaintiffs And Class Members Suffered Damages

       47.     The Data Breach was a direct and proximate result of Marriott’s failure to

properly protect Plaintiffs and Class Members’ Personal Identifying Information from

unauthorized access, use, and disclosure, as required by various state and federal regulations, and

industry practices. It was further the result of Marriott’s failure to establish and implement

appropriate administrative, technical, and physical safeguards to ensure the security and

confidentiality of Plaintiffs’ and Class Members’ Personal Identifying Information.

       48.     Marriott did not obtain Plaintiffs’ and Class Members’ consent to disclose their

Personal Identifying Information to any other person as required by applicable law and industry

standards.

       49.     As a direct and proximate result of Marriott’s wrongful action and inaction and

the resulting Data Breach, Plaintiffs and Class Members have been placed at an imminent,



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immediate, and continuing increased risk of harm from identity theft and identity fraud, requiring

them to take the time and effort to mitigate the actual and potential impact of the Data Breach on

their lives including, inter alia, by placing “freezes” and “alerts” with credit reporting agencies,

contacting their financial institutions, closing or modifying financial accounts, changing passport

numbers, and closely reviewing and monitoring their credit reports and accounts for

unauthorized activity.

       50.     Marriott’s wrongful actions and inaction directly and proximately caused the theft

and dissemination into the public domain of Plaintiffs’ and Class Members’ Personal Identifying

Information, causing them to suffer, and continue to suffer, economic damages and other actual

harm for which they are entitled to compensation, including:

               a.        theft of their personal and financial information;

               b.        the imminent and certainly impending injury flowing from potential fraud

               and identify theft posed by their passport, credit/debit card, and personal and

               confidential information being placed in the hands of criminals;

               c.        the untimely and inadequate notification of the Data Breach;

               d.        the improper disclosure of their Personal Identifying Information;

               e.        loss of privacy;

               f.        ascertainable losses in the form of out-of-pocket expenses and the value of

               their time reasonably incurred to remedy or mitigate the effects of the Data

Breach;

               g.        ascertainable losses in the form of deprivation of the value of their

               Personal Identifying Information for which there is a well-established national

               and international market;



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               h.      overpayments to Marriott for products and services purchased during the

               Data Breach in that a portion of the price paid for such products and services by

               Plaintiffs and Class Members to Marriott was for the costs of reasonable and

               adequate safeguards and security measures that would protect customers’

               Personal Identifying Information, which Marriott did not implement and, as a

               result, Plaintiffs and Class Members did not receive what they paid for and were

               overcharged by Marriott;

               i.      the loss of use of and access to their account funds and costs associated

               with inability to obtain money from their accounts or being limited in the amount

               of money they were permitted to obtain from their accounts; and

               j.      deprivation of rights they possess under the various state statutes.

                               CLASS ACTION ALLEGATIONS

       51.     Plaintiffs seek relief in his individual capacity and as representative of all others

who are similarly situated. Pursuant to Fed. R. Civ. P. 23(a) and (b)(2), (b)(3), and (c)(4),

Plaintiffs seek certification of the following nationwide class (the “Class” or “Nationwide

Class”): all persons residing in the United States whose Personal Identifying Information was

accessed, compromised, or stolen from Marriott or Starwood in the Data Breach.

       52.     Plaintiffs also seek certification of state-by-state claims pursuant to Fed. R. Civ.

P. 23(a), (b)(2), (b)(3) and (c)(4) in the alternative to the nationwide claims, as well as statutory

claims under state data breach statutes and consumer protection statutes, on behalf of separate

statewide subclasses for each State, the District of Columbia, Puerto Rico, and the Virgin Islands

(the “Statewide Subclasses” or the “Subclasses”) as follows: all persons in each of the following




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States or Territories whose Personal Identifying Information was accessed, compromised, or

stolen from Marriott or Starwood in the Data Breach:

       Alabama; Alaska; Arizona; Arkansas; California; Colorado; Connecticut; Delaware;
       District of Columbia; Florida; Georgia; Hawaii; Idaho; Illinois; Indiana; Iowa; Kansas;
       Kentucky; Louisiana; Maine; Maryland; Massachusetts; Michigan; Minnesota; Missouri;
       Montana; Nebraska; Nevada; New Hampshire; New Jersey; New Mexico; New York;
       North Carolina; North Dakota; Ohio; Oklahoma; Oregon; Pennsylvania; Puerto Rico;
       Rhode Island; South Carolina; South Dakota; Tennessee; Texas; Utah; Vermont;
       Virginia; Virgin Islands; Washington; West Virginia; Wisconsin; Wyoming.

       53.     Plaintiffs reserve the right to revise the definitions of the Nationwide Class and/or

Statewide Subclasses based upon information learned through discovery.

       54.     Excluded from each of the Nationwide Class and each State Subclass are Marriott

and Starwood, including any entity in which Marriott or Starwood has a controlling interest, is a

parent or subsidiary, or which is controlled by Marriott or Starwood, as well as the officers,

directors, affiliates, legal representatives, heirs, predecessors, successors, and assigns of Marriott

and Starwood. Also excluded are the judges and court personnel in this case and any members of

their immediate families.

       55.     Numerosity. Fed. R. Civ. P. 23(a)(1). The members of the Class are so

numerous that the joinder of all members is impractical. While the exact number of Class

members is unknown to Plaintiffs at this time, Marriott has acknowledged that information of

over 500 million customers may have been compromised.

       56.     Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are questions of law

and fact common to the Class, which predominate over any questions affecting only individual

Class members. These common questions of law and fact include, without limitation:




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    a.     whether Marriott violated the various state Deceptive and Unfair Trade

    Practices Act by failing to implement reasonable security procedures and

    practices;

    b.     whether Marriott violated laws by failing to promptly notify Class

    Members their personal information had been compromised;

    c.     whether Class Members may obtain injunctive relief against Marriott

    under privacy laws to require that it safeguard or destroy, rather than retain, the

    Personal Identifying Information of Plaintiffs and Class Members;

    d.     which security procedures and which data-breach notification procedure

    should Marriott be required to implement as part of any injunctive relief ordered

    by the Court;

    e.     whether Marriott has an implied contractual obligation to use reasonable

    security measures;

    f.     whether Marriott has complied with any implied contractual obligation to

    use reasonable security measures;

    g.     what security measures, if any, must be implemented by Marriott to

    comply with its implied contractual obligations;

    h.     whether Marriott violated state privacy laws in connection with the actions

    described herein; and

    i.     what the nature of the relief should be, including equitable relief, to which

    Plaintiffs and the Class Members are entitled.




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         57.   All members of the proposed Class are readily ascertainable. Marriott has access

to addresses and other contact information for millions of members of the Class, which can be

used for providing notice.

         58.   Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of those of

other Class members because Plaintiffs’ personal and confidential information, like that of every

other Class Member, was accessed, compromised, or stolen from Marriott’s system.

         59.   Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs will fairly and

adequately represent and protect the interests of the members of the Class. Plaintiffs’ Counsel are

competent and experienced in litigating class actions, including privacy litigation.

         60.   Superiority of Class Action. Fed. R. Civ. P. 23(b)(3). A class action is superior

to other available methods for the fair and efficient adjudication of this controversy since joinder

of all the members of the Class is impracticable. Furthermore, the adjudication of this

controversy through a class action will avoid the possibility of inconsistent and potentially

conflicting adjudication of the asserted claims. There will be no inordinate difficulty in the

management of this action as a class action.

         61.   Damages for any individual class member are likely insufficient to justify the cost

of individual litigation, so that in the absence of class treatment, Marriott’s violations of law

inflicting substantial damages in the aggregate would go un-remedied without certification of the

Class.

         62.   Class certification is also appropriate under Fed. R. Civ. P. 23(a) and (b)(2),

because Marriott has acted or has refused to act on grounds generally applicable to the Class, so

that final injunctive relief or corresponding declaratory relief is appropriate as to the Class as a

whole.



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                                      CLAIMS FOR RELIEF

                                FIRST CAUSE OF ACTION
                            BREACH OF IMPLIED CONTRACT
                       (On Behalf of Plaintiffs and the Nationwide Class)

        63.     Plaintiffs incorporate the substantive allegations contained in paragraphs 1

through 62 as if fully set forth herein.

        64.     Marriott and Starwood solicited and invited Plaintiffs and Class Members to

include significant Personal Identifying Information when using its reservation system, including

making it mandatory for inclusion in its SPG Loyalty Program. As such, Plaintiffs and Class

Members share personal and confidential information including names, phone numbers, email

addresses, passport numbers, dates of birth, credit card numbers and credit card expiration dates.

        65.     Marriott and Starwood then invited Plaintiffs and Class Members to continually

use its SPG Loyalty Program to book rooms, and earn and redeem rewards. Plaintiffs and Class

Members accepted certain offers made by Starwood in connection with use of the SPG Loyalty

Program, continuing to allow Starwood and Marriott to store, maintain, and safeguard their

personal and confidential information.

        66.     When Plaintiffs and Class Members provided their Personal Identifying

Information to make a reservation with Starwood or in connection with joining the SPG Loyalty

Program, they entered into implied contracts with the Starwood, pursuant to which Starwood and

later Marriott agreed to safeguard their information, and to timely and accurately notify Plaintiffs

and Class Members if their data had been breached or compromised.

        67.     Plaintiffs and Class Members would not have provided and entrusted their

Personal Identifying Information to Starwood and Marriott in connection with making




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reservations or joining the SPG Loyalty Program in the absence of the implied contract between

them.

        68.     Plaintiffs and Class Members fully performed their obligations under the implied

contracts with Marriott and Starwood.

        69.     Marriott and Starwood breached the implied contracts it made with Plaintiffs and

Class Members by failing to safeguard and protect the Personal Identifying Information of

Plaintiffs and Class Members and by failing to provide timely and accurate notice to them that

their information was compromised in and as a result of the Data Breach.

        70.     As a direct and proximate result of Marriott and Starwood’s breaches of the

implied contracts with Plaintiffs and Class Members, Plaintiffs and Class Members sustained

actual losses and damages as described in detail herein.

                               SECOND CAUSE OF ACTION
                                        NEGLIGENCE
                       (On Behalf of Plaintiffs and the Nationwide Class)

        71.     Plaintiffs incorporate the substantive allegations contained in paragraphs 1

through 70 as if fully set forth herein.

        72.     Upon accepting and storing Plaintiffs’ and Class Members’ personal and

confidential information in its respective computer database systems, Marriott undertook and

owed a duty to Plaintiffs and Class Members to exercise reasonable care to secure and safeguard

that information and to utilize commercially reasonable methods to do so. Marriott knew,

acknowledged, and agreed the information was private and confidential and would be protected

as private and confidential.

        73.     The law imposes an affirmative duty on Marriott to timely disclose the

unauthorized access and theft of personal and confidential information to Plaintiffs and the Class



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so Plaintiffs and Class Members could take appropriate measures to mitigate damages, protect

against adverse consequences, and thwart future misuse of their information.

       74.     Marriott breached its duty to notify Plaintiffs and Class Members of the

unauthorized access by failing to notify Plaintiffs and Class Members of the Data Breach until

November 30, 2018. To date, although it has been months since the Data Breach was discovered,

and four years since the Data Breach commenced, Marriott has not provided sufficient

information to Plaintiffs and Class Members regarding the extent of the unauthorized access and

continues to breach its disclosure obligations to Plaintiffs and the Class.

       75.     Marriott also breached its duty to Plaintiffs and the Class Members to adequately

protect and safeguard this information by knowingly disregarding standard information security

principles, despite obvious risks, and by allowing unmonitored and unrestricted access to

Plaintiffs’ and Class Members’ Personal Identifying Information. Furthering its dilatory

practices, Marriott failed to provide adequate oversight of the Personal Identifying Information

to which it was entrusted, resulting in a massive breach of the personal and confidential

information of potentially 500 million guests, undetected over a period of four years.

       76.     Through Marriott’s acts and omissions described in this Complaint, including

Marriott’s failure to provide adequate security and its failure to protect Plaintiffs’ and Class

Members’ personal and confidential information from being foreseeably captured, accessed,

disseminated, stolen, and misused, Marriott unlawfully breached its duty to use reasonable care

to adequately protect and secure Plaintiffs’ and Class Members’ personal and confidential

information during the time it was within Marriott’s possession or control.




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       77.     Further, through Marriott’s failure to provide timely and clear notification of the

Data Breach to consumers, Marriott prevented Plaintiffs and Class Members from taking

meaningful, proactive steps to secure their financial data and bank accounts.

       78.     Upon information and belief, Marriott improperly and inadequately safeguarded

the personal and confidential information of Plaintiffs and Class Members by failing to

implement standard industry rules, regulations, and best practices at the time of the Data Breach.

       79.     Marriott’s failure to take proper security measures to protect Plaintiffs’ and Class

Members’ sensitive personal and confidential information violated its duty to protect that data

and prevent its dissemination to third parties.

       80.     Marriott had a common law duty to prevent foreseeable harm to others. This duty

existed because Plaintiffs and Class Members were the foreseeable and probable victims of any

inadequate security practices. By collecting and maintaining personal and confidential

information of the Plaintiffs and Class Members, and acknowledging that this information

needed to be kept secure, it was foreseeable that they would be harmed in the future if Marriott

did not protect Plaintiffs’ and Class Members’ information from cyber criminals.

       81.     Marriott’s duty also arose under Section 5 of the Federal Trade Commission Act

(“FTC Act”), 15 U.S.C. § 45, which prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair practice of failing to use reasonable

measures to protect personal and confidential information. Various FTC publications and data

security breach orders further form the basis of Marriott’s duty. In addition, individual states

have enacted statutes based upon the FTC Act that also created a duty.

       82.     Marriott’s acknowledged the importance of keeping this information secure, and

stated that they sought ‘to use reasonable organizational, technical and administrative measures



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to protect Personal Data.”19 Despite acknowledging their responsibility to keep this information

secure, Marriott improperly put the burden on Plaintiffs and Class Members to notify Marriott if

they suspected that their information was not secure, when individuals would not have access to

this information, and Defendant was in a superior position to know this information, and had

exclusive possession of such information.20

        83.     Marriott’s failure to take proper security measures to protect Plaintiffs’ and Class

Members’ sensitive Personal Identifying Information has caused Plaintiffs and Class Members to

suffer injury and damages. As a direct and proximate result of Marriott’s negligence, Plaintiffs

and members of the Class and Subclasses have been (and continue to be) injured and have

suffered (and will continue to suffer) the damages described above.

                            THIRD CAUSE OF ACTION
              BREACH OF STATE DATA PRIVACY AND NOTICE STATUTES
                        (On Behalf of the Statewide Subclasses)

        84.     Plaintiffs incorporate the substantive allegations contained in paragraphs 1

through 83 as if fully set forth herein.

        85.     According to state laws in the following states and/or territories in which Marriott

does business and/or in which Plaintiffs and/or members of the Statewide Subclasses reside,

Marriott had a duty to implement and maintain reasonable security procedures and/or to timely

inform Plaintiffs and the Statewide Subclass members of data breaches related to their Personal

Identifying Information:

                a.      Alabama: 2018 S.B. 318, Act No. 396 (the “Alabama Data Breach

                Notification Act”)

        19
           See Privacy Center, Marriott Group Global Privacy Statement,
https://www.marriott.com/about/privacy.mi (last accessed Nov. 30, 2018).
        20
           Id.


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    b.     Alaska: Alaska Stat. §§ 45.48.010, et seq.; 45.50.471, et seq. (the

    “Personal

    Information Protection Act”)

    c.     Arizona: Ariz. Rev. Stat. § 18-545, et seq.

    d.     Arkansas: Ark. Code § 4-110-101, et seq. (the “Personal Information

    Protection Act”)

    e.     California: Cal. Civ. Code § 1798.80, et seq. (the “California Customer

    Records Act”)

    f.     Colorado: Colo. Rev. Stat. §§ 6-1-713, et seq.; 6-1-716, et seq. (the

    “Colorado Security Breach Notification Act”)

    g.     Connecticut: Conn. Gen. Stat. §§ 42-471; 36a-701b

    h.     Delaware: 6 Del. Code Ann. §§ 12B-101, et seq. (the “Delaware

    Computer Security Breach Act”)

    i.     District of Columbia: D.C. Code §§ 28-3851, et seq. (the “District of

    Columbia Consumer Security Breach Notification Act”)

    j.     Florida: Fla. Stat. § 501.171

    k.     Georgia: O.C.G.A. §§ 10-1-910, et seq. (the “Georgia Security Breach

    Notification Act”)

    l.     Hawaii: Haw. Rev. Stat. §§ 487N-1, et seq. (the “Hawaii Security Breach

    Notification Act”)

    m.     Idaho: Idaho Stat. §§ 28-51-104-107

    n.     Illinois: 815 Ill. Comp. Stat. §§ 530/1, et seq. (the “Illinois Personal

    Information Protection Act”)



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    o.       Indiana: Ind. Code § 24-4.9-1-1, et seq.

    p.       Iowa: Iowa Code § 715C.1, et seq. (the “Personal Information Security

    Breach Protection Law”)

    q.       Kansas: Kan. Stat. Ann. §§ 50-6,139b; 50-7a01, et seq.

    r.       Kentucky: Ky. Rev. Stat. Ann. §§ 365.732, et seq. (the “Kentucky

    Computer Security Breach Notification Act”)

    s.       Louisiana: La. Rev. Stat. § 51:3071, et seq. (the “Database Security

    Breach

    Notification Law”)

    t.       Maine: Me. Rev. Stat. tit. 10 § 1346 et seq. (the “Notice of Risk to

    Personal Data Act”)

    u.       Maryland: Md. Comm. Code §§ 14-3501, et seq. (the “Maryland Personal

    Information Protection Act”)

    v.       Massachusetts: Mass. Gen. Laws § 93H-1 et seq.

    w.       Michigan: Mich. Comp. Laws Ann. §§ 445.72, et seq. (the “Michigan

    Identity Theft Protection Act”)

    x.       Minnesota: Minn. Stat. §§ 325E.61, 325E.64

    y.       Mississippi: Miss. Code § 75-24-29

    z.       Missouri: Mo. Rev. Stat. § 407.1500

    aa.      Montana: Mont. Code Ann. §§ 2-6-1501-1503; 30-14-1704(1), et seq.; 33-

    19-321; (the “Computer Security Breach Law”)

    bb.      Nebraska: Neb.Rev.St. § 87-801, et seq. (“Financial Data Protection and

    Consumer Notification of Data Security Breach Act of 2006”)



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    cc.     Nevada: Nev. Rev. Stat. §§ 603A.010 et seq., 242.183

    dd.     New Hampshire: N.H. Rev. Stat. Ann. §§ 359-C:19, et seq.

    ee.     New Jersey: N.J. Stat. Ann. §§ 56:8-161, et seq. (the “New Jersey

    Customer Security Breach Disclosure Act”)

    ff.     New Mexico: 2017 H.B. 15, Chap. 36 (the “ Data Breach Notification

    Act”)

    gg.     New York: N.Y. Gen. Bus. Law § 899-aa (the “Information Security

    Breach and Notification Act”)

    hh.     North Carolina: N.C. Gen. Stat. § 75-60, et seq. (the “North Carolina

    Identity Theft Protection Act”)

    ii.     North Dakota: N.D. Cent. Code §§ 51-30-01, et seq.

    jj.     Ohio: Ohio Rev. Code §§ 1349.19, et seq.

    kk.     Oklahoma: Okla. Stat. Ann. §§ 24-161-166 (the “Security Breach

    Notification Act”)

    ll.     Oregon: Or. Rev. Stat. §§ 646A.600, et seq. (the “Oregon Consumer

    Identity Theft Protection Act”)

    mm.     Pennsylvania: 73 Pa. Stat. §§ 2301, et seq. (the “Breach of Personal

    Information Notification Act”)

    nn.     Puerto Rico: P.R. Laws Ann. tit. 10, §§ 4051, et seq. (the “Citizen

    Information on Data Banks Security Act”)

    oo.     Rhode Island: R.I. Gen. Laws §§ 11-49.3-1, et seq. (the “Rhode Island

    Identify Theft Protection Act of 2015”)




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               pp.    South Carolina: S.C. Code Ann. §§ 39-1-90, et seq. (the “South Carolina

               Data Breach Security Act”)

               qq.    South Dakota: S.D. Cod. Laws §§ 20-40-20, et seq.

               rr.    Tennessee: Tenn. Code Ann. §§ 47-18-2107, et seq. (the “Tennessee

               Personal Consumer Information Release Act”)

               ss.    Texas: Tex. Bus. & Com. Code § 521.001, et seq. (the “Identity Theft

               Enforcement and Protection Act”)

               tt.    Utah: Utah Code §§ 13-44-101, et seq. (the “Protection of Personal

               Information Act”)

               uu.    Vermont: Vt. Stat. tit. 9 §§ 2430, 2435, et seq. (the “Security Breach

               Notice Act”)

               vv.    Virginia: Va. Code. Ann. §§ 18.2-186.6, et seq. (the “Virginia Personal

               Information Breach Notification Act”)

               ww.    Virgin Islands: V.I. Code tit. 14 §§ 2208, et seq. (the “Identity Theft

               Prevention Act”)

               xx.    Washington: Wash. Rev. Code §§ 19.255.010, et seq. (the “Washington

               Data Breach Notice Act”)

               yy.    West Virginia: W.V. Code §§ 46A-2A-101 et seq.

               zz.    Wisconsin: Wis. Stat. §§ 134.98, et seq.

               aaa.   Wyoming: Wyo. Stat. Ann. §§ 40-12-501, et seq.

       86.     Marriott failed to satisfy its obligations under the foregoing state statutes

concerning data breach notification and data privacy restrictions.




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       87.     Timely notification was required, and was appropriate and necessary so that,

among other things, Plaintiffs and members of the Class and Subclasses could take appropriate

measures to freeze or lock their credit profiles, avoid unauthorized charges to their credit or debit

card accounts, cancel or change usernames and passwords on compromised accounts, monitor

their account information and credit reports for fraudulent activity, contact their banks or other

financial institutions that issue their credit or debit cards, obtain credit monitoring services,

change passport numbers, and take other steps to mitigate or ameliorate the damages caused by

Marriott’s misconduct.

       88.     Marriott breached the duties it owed to Plaintiffs and the members of the Class

and Subclasses described above. Marriott breached these duties by, among other things, failing

to: (i) exercise reasonable care and implement adequate security systems, protocols and practices

sufficient to protect the Personal Identifying Information of Plaintiff and the members of the

Class and Subclasses; (ii) detect the breach while it was ongoing; (iii) maintain security systems

consistent with industry standards; and (iv) timely disclose that Plaintiffs and the members of the

Class and Subclasses’ Personal Identifying Information in Marriott’s possession had been or was

reasonably believed to have been, stolen or compromised.

       89.     But for Marriott’s wrongful and negligent breach of its duties owed to Plaintiffs

and members of the Class and Subclasses, their Personal Identifying Information would not have

been compromised.

       90.     As a direct and proximate result of Marriott’s negligence, Plaintiffs and members

of the Class and Subclasses have been (and continue to be) injured and have suffered (and will

continue to suffer) the damages described above.

                                FOURTH CAUSE OF ACTION



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              BREACH OF STATE CONSUMER PROTECTION STATUTES
                      (On Behalf of the Statewide Subclasses)

        91.     Plaintiffs incorporate the substantive allegations contained in paragraphs 1

through 90 as if fully set forth herein.

        92.     According to state laws in the following states and/or territories in which Marriott

does business and/or in which Plaintiffs and/or Class Members reside, Marriott had a duty to

refrain from engaging in unfair, fraudulent or deceptive trade practices:

                a.      Alabama: Ala. Code §§ 8-19-1, et seq. (the “Alabama Deceptive Trade

                Practice Act”)

                b.      Alaska: Alaska Stat. §§ 45.50.471, et seq. (the “Alaska Consumer

                Protection Act”)

                c.      Arizona: Ariz. Rev. Stat. §§ 44-1521, et seq. (the “Arizona Consumer

                Fraud Act”)

                d.      Arkansas: Ark. Code §§ 4-88-107, et seq. (the “Arkansas Deceptive Trade

                Practices Act”)

                e.      California: Cal. Bus. & Prof. Code §§ 17200, et seq. (the “California

                Unfair Competition Law”); Cal. Civ. Code §§ 1750, et seq. (the “California

                Consumer Legal Remedies Act”)

                f.      Colorado: Colo. Rev. Stat. §§ 6-1-101, et seq. (the “Colorado Consumer

                Protection Act”)

                g.      Connecticut: Conn. Gen. St. § 42-110a et seq. (the “Connecticut Unfair

                Trade Practices Act”)




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    h.      Delaware: 6 Del. Code § 12-B-102(d), 6 Del. Code § 25 (the “Delaware

    Consumer Fraud Act”)

    i.      District of Columbia: D.C. Code §§ 28-3904, et seq. (the “District of

    Columbia Consumer Protection Procedures Act”)

    j.      Florida: Fla. Stat. §§ 501.201, et seq. (the “Florida Deceptive and Unfair

    Trade Practices Act”)

    k.      Georgia: Ga. Code §§ 10-1-370, et seq. (the “Georgia Uniform Deceptive

    Trade Practices Act”)

    l.      Hawaii: Haw. Rev. Stat. §§ 480-1, et seq. (the “Hawaii Unfair Practices

    and

    Unfair Competition Act”); Haw. Rev. Stat. §§ 481A-3, et seq. (the “Hawaii

    Uniform Deceptive Trade Practice Act”)

    m.      Idaho: Idaho Code §§ 48-601, et seq. (the “Idaho Consumer Protection

    Act”)

    n.      Illinois: 815 Ill. Comp. Stat. §§ 505, et seq. (the “Illinois Consumer Fraud

    and Deceptive Business Practices Act”); 815 Ill. Comp. Stat. §§ 510/2, et seq. (the

    “Illinois Uniform Deceptive Trade Practices Act”)

    o.      Indiana: Ind. Code §§ 24-5-0.5-1, et seq. (the “Indiana Deceptive

    Consumer Sales Act”)

    p.      Iowa: Iowa Code § 714H (the “Iowa Private Right of Action for Consumer

    Frauds Act”)

    q.      Kansas: Kan. Stat. §§ 50-623, et seq. (the “Kansas Consumer Protection

    Act”)



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    r.     Kentucky: Ky. Rev. Stat. §§ 367.110, et seq. (the “Kentucky Consumer

    Protection Act”)

    s.     Louisiana: La. Rev. Stat. §§ 51:1401, et seq. (the “Louisiana Unfair Trade

    Practices and Consumer Protection Law”)

    t.     Maine: 5 Me. Rev. Stat. §§ 205, 213, et seq. (the “Maine Unfair Trade

    Practices Act”); 10 Me. Rev. Stat. §§ 1212, et seq. (the “Maine Uniform

    Deceptive Trade Practices Act”)

    u.     Maryland: Md. Code Com. Law §§ 13-301, et seq. (the “Maryland

    Consumer Protection Act”)

    v.     Massachusetts: Mass. Gen. Laws ch. 93A, §§ 1, et seq. (the

    “Massachusetts

    Consumer Protection Act”)

    w.     Michigan: Mich. Comp. Laws §§ 445.903, et seq. (the “Michigan

    Consumer

    Protection Act”)

    x.     Minnesota: Minn. Stat. §§ 325F.68, et seq. and Minn. Stat. §§ 8.31, et seq.

    (the “Minnesota Consumer Fraud Act”); Minn. Stat. §§ 325D.43, et seq. (the

    Minnesota Uniform Deceptive Trade Practices Act”);

    y.     Mississippi: Miss. Code §§ 75-24-1, et seq. (the “Mississippi Consumer

    Protection Act”)

    z.     Missouri: Mo. Rev. Stat. §§ 407.010, et seq. (the “Missouri Merchandise

    Practices Act”)




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    aa.     Montana: Mont. Code §§ 30-14-101, et seq. (the “Montana Unfair Trade

    Practices and Consumer Protection Act”)

    bb.     Nebraska: Neb. Rev. Stat. §§ 59-1601, et seq. (the “Nebraska Consumer

    Protection Act”); Neb. Rev. Stat. §§ 87-301, et seq. (the “Nebraska Uniform

    Deceptive Trade Practices Act”)

    cc.     Nevada: Nev. Rev. Stat. §§ 598.0903, et seq. (the “Nevada Deceptive

    Trade

    Practices Act”)

    dd.     New Hampshire: N.H. Rev. Stat. §§ 358-A, et seq. (the “New Hampshire

    Consumer Protection Act”)

    ee.     New Jersey: N.J. Rev. Stat. §§ 56:8-1, et seq. (the “New Jersey Consumer

    Fraud Act”)

    ff.     New Mexico: N.M. Stat. §§ 57-12-2, et seq. (the “New Mexico Unfair

    Practices Act”)

    gg.     New York: N.Y. Gen. Bus. Law §§ 349, et seq. (the “New York General

    Business Law”)

    hh.     North Carolina: N.C. Gen. Stat. §§ 75-1.1, et seq. (the “North Carolina

    Unfair Trade Practices Act”)

    ii.     North Dakota: N.D. Cent. Code §§ 51-15-01, et seq. (the “North Dakota

    Unlawful Sales or Advertising Act”)

    jj.     Ohio: Ohio Rev. Code §§ 4165.01, et seq. (the “Ohio Deceptive Trade

    Practices Act”)




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    kk.     Oklahoma: Okla. Stat. tit. 15, §§ 751, et seq. (the “Oklahoma Consumer

    Protection Act”)

    ll.     Oregon: Or. Rev. Stat. §§ 646.608, et seq. (the “Oregon Unlawful Trade

    Practices Act”)

    mm.     Pennsylvania: 73 Pa. Cons. Stat. §§ 201-2 & 201-3, et seq. (the

    “Pennsylvania Unfair Trade Practices and Consumer Protection Law”)

    nn.     Puerto Rico: 10 P.R. Laws §§ 257, et seq. (the “Puerto Rico Fair

    Competition Law”)

    oo.     Rhode Island: R.I. Gen. Laws §§ 6-13.1, et seq. (the “Rhode Island

    Deceptive Trade Practices Act”)

    pp.     South Carolina: S.C. Code §§ 39-5-10, et seq. (the “South Carolina Unfair

    Trade Practices Act”)

    qq.     South Dakota: S.D. Codified Laws §§ 37-24-1, et seq. (the “South Dakota

    Deceptive Trade Practices and Consumer Protection Law”)

    rr.     Tennessee: Tenn. Code §§ 47-18-101, et seq. (the “Tennessee Consumer

    Protection Act”)

    ss.     Texas: Texas Bus. & Com. Code §§ 17.41, et seq. (the “Deceptive Trade

    Practices—Consumer Protection Act”)

    tt.     Utah: Utah Code §§ 13-11-1, et seq. (the “Utah Consumer Sales Practices

    Act”)

    uu.     Vermont: Vt. Stat. Ann. Tit. 9, §§ 2451, et seq. (the “Vermont Consumer

    Fraud Act”)




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               vv.     Virginia: Va. Code §§ 59.1-196, et seq. (the “Virginia Consumer

               Protection Act”)

               ww.     Virgin Islands: V.I. Code tit. 12A, §§ 301, et seq. (the “Virgin Islands

               Consumer Fraud and Deceptive Business Practices Act”); V.I. Code tit. 12A,

               §§101, et seq. (the “Virgin Islands Consumer Protection Law”)

               xx.     Washington: Wash. Rev. Code §§ 19.86.020, et seq. (the “Washington

               Consumer Protection Act”)

               yy.     West Virginia: W. Va. Code §§46A-6-101, et seq. (the “West Virginia

               Consumer Credit and Protection Act”)

               zz.     Wisconsin: Wis. Stat. § 100.18 (the “Wisconsin Deceptive Trade Practices

               Act”)

               aaa.    Wyoming: Wyo. Stat. § 40-12-101, et seq. (the “Wyoming Consumer

               Protection Act”))

       93.     Marriott failed to satisfy its obligations under the foregoing state statutes

concerning unfair and deceptive trade practices and consumer protection restrictions.

       94.     Marriott engaged in unfair and deceptive trade practices in connection with

offering for sale or selling consumer goods or services, in violation of the foregoing statutes,

including:

               a.      failing to implement and maintain reasonable security and privacy

               measures to protect Plaintiffs’ and the Statewide Class Members’ Personal

               Identifying Information, which was a direct and proximate cause of the Data

               Breach;




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    b.     failing to identify foreseeable security and privacy risks, remediate

    identified security and privacy risks, and adequately improve security and privacy

    measures following previous cybersecurity incidents, which was a direct and

    proximate cause of the Marriott Data Breach;

    c.     failing to comply with common law and statutory duties pertaining to the

    security and privacy of Plaintiffs’ and the Statewide Class Members’ Personal

    Identifying Information, including duties imposed by the FTCA, 15 U.S.C. § 45,

    which was a direct and proximate cause of the Marriott Data Breach;

    d.     misrepresenting that it would protect the privacy and confidentiality of

    Plaintiffs’ and the Statewide Class Members’ Personal Identifying Information,

    including by implementing and maintaining reasonable security measures;

    e.     misrepresenting that it would comply with common law and statutory

    duties pertaining to the security and privacy of Plaintiffs’ and the Statewide Class

    Members’ Personal Identifying Information, including duties imposed by the

    FTCA, 15 U.S.C. § 45;

    f.     omitting, suppressing, and concealing the material fact that it did not

    reasonably or adequately secure Plaintiffs’ and the Statewide Class Members’

    Personal Identifying Information; and

    g.     omitting, suppressing, and concealing the material fact that it did not

    comply with common law and statutory duties pertaining to the security and

    privacy of Plaintiffs’ and Statewide Class Members’ Personal Identifying

    Information, including duties imposed by the FTCA, 15 U.S.C. § 45 and the

    foregoing state consumer protection statutes.



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       95.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Identifying Information. Marriott’s

misrepresentations and omissions would have been important to a significant number of

consumers in making financial decisions.

       96.      Had Marriott disclosed to Plaintiffs and the members of the Statewide Classes that

its data systems were not secure and, thus, vulnerable to attack, Marriott’s business would have

suffered and it would have been forced to adopt reasonable data security measures and comply

with the law.

       97.      Marriott violated the foregoing state consumer protection statutes, and recklessly

disregarded Plaintiffs and the members of the Statewide Classes’ rights. Starwood’s previous

breach put it on notice or, at the very least, inquiry notice that its security and privacy protections

were inadequate.

       98.      As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiffs and the members of the Statewide Classes have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from fraud and identity theft; time and expenses related to monitoring their

financial accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;

and loss of value of their Personal Identifying Information.

       99.      As a direct and proximate result of Marriott’s negligence, Plaintiffs and members

of the Class and Subclasses have been (and continue to be) injured and have suffered (and will

continue to suffer) the damages described above.




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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

     A.          Certifying this class action, appointing Plaintiffs as Class representatives, and

appointing their Counsel as Class Counsel;

     B.          Entering judgment in favor of Plaintiffs and the other members of the Class and

Subclasses, and against Marriott under the legal theories alleged herein;

     C.          That Marriott’s wrongful conduct alleged herein be adjudged and decreed to

violate the Data Protection Statutes as asserted and that the Court issue an order enjoining the

methods, acts, or practices adjudged and decreed unlawful;

     D.          That Marriott’s wrongful conduct alleged herein be adjudged and decreed to

violate the Deceptive Trade Practice Statutes as asserted and that the Court issue an order

enjoining the methods, acts, or practices adjudged and decreed unlawful;

     E.          Awarding actual and compensatory damages in favor of Plaintiffs and the

members of the Class and Subclasses, as provided by law, in an amount to be determined;

     F.          Awarding Plaintiffs and members of the Class and Subclasses their reasonable

costs and expenses incurred in this action, including attorneys’ fees and expert fees, as provided

by law;

     G.          Such other relief as this court may deem just and proper.




                                           JURY DEMAND

          Plaintiffs demand a trial by jury.




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Dated: December 19, 2018           PLAINTIFFS BARRY GOLIN AND
                                   LAURA GONONIAN, on behalf of themselves and
                                   others similarly situated


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